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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

 SUSAN PASKOWITZ, Individually and On               )
 Behalf of All Others Similarly Situated,           )
                                                    )
                        Plaintiff,                  )   Case No. 3:18-cv-01663
                                                    )
        v.                                          )   JURY TRIAL DEMANDED
                                                    )
 CONNECTICUT WATER SERVICE, INC.,                   )   CLASS ACTION
 CAROL P. WALLACE, DAVID C. BENOIT,                 )
 RICHARD H. FORDE, MARY ANN                         )
 HANLEY, HEATHER HUNT, BRADFORD                     )
 A. HUNTER, KRISTEN A. JOHNSON,                     )
 LISA J. THIBDAUE, and ELLEN C. WOLF,               )
                                                    )
                        Defendants.                 )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Susan

Paskowitz hereby voluntarily dismisses the above-captioned action (the “Action”) without

prejudice, with all parties to bear their own fees and costs. Defendants have filed neither an answer

nor a motion for summary judgment in the Action.

 Dated: May 14, 2019                               LACHTMAN COHEN P.C.

                                             By: /s/ Brian S. Cohen
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